                          UNITED STATES DISTRICT COURT
                       WESTERN DISTRICT OF NORTH CAROLINA
                               ASHEVILLE DIVISION

                                   DOCKET NO. 1:12CR127

UNITED STATES OF AMERICA,                      )
                                               )
                      Plaintiff,               )
                                               )
              v.                               )                       ORDER
                                               )
2) DELVETO MICHAEL MITCHELL,                   )
                                               )
                      Defendant.               )


       THIS MATTER is before the Court on the Motion to Correct the Description of

Previously Forfeited Firearm [Doc. 29], filed May 29, 2013.

       For the reasons stated in the government’s motion, and no response being necessary, IT

IS, THEREFORE, ORDERED that the government’s Motion to Correct the Description of

Previously Forfeited Firearm is GRANTED, and the description of the firearm listed in the

Consent Order and Judgment of Forfeiture [Doc. 22] is hereby corrected to the following:

       Norinco, SKS, 7.62 caliber rifle, serial number 24026267N.

       IT IS SO ORDERED.

                                                     Signed: May 30, 2013




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